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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MONTANA
                               MISSOULA DIVISION

ACE FIRE UNDERWRITERS                            CV 19–181–M–DLC
COMPANY, and ACE PROPERTY &
CASUALTY INSURANCE
COMPANY,
                                                 ORDER
        Plaintiffs,

   v.

NANCY GIBSON, AS RECEIVER
FOR ROBINSON INSULATION
COMPANY; AMERICAN STATES
INSURANCE COMPANY; and
MOTORISTS COMMERCIAL
MUTUAL INSURANCE COMPANY,

        Defendants.


        Pursuant to the Parties’ Stipulation for Dismissal with Prejudice of All

Claims by All Parties (Doc. 57), IT IS ORDERED that this action is DISMISSED

WITH PREJUDICE, the parties to bear their own costs and attorneys’ fees. All

deadlines are VACATED and any pending motions are DENIED as moot.

        DATED this 9th day of November, 2020
